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                  Exhibit *
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 STATE OF MARYLAND, et al.,
                               Plaintiffs,

                                                   No.

 U.S. DEPT. OF AGRICULTURE, et al.,
                               Defendants.


                         DECLARATION OF KATHLEEN WALSH

       I, Kathleen Walsh, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

I.     Background

       1.      I am the Secretary for the Massachusetts Executive Office of Health and Human

Services ("EOHHS"). I have held this position since March 1, 2023. As the Secretary ofEOHHS,

I oversee 11 state agencies, which include the Department of Public Health ("DPH") and the

Department of Transitional Assistance ("OTA"). EOHHS also serves as the single state agency

responsible for the administration of the Medicaid program and the State Children's Health

Insurance Program within Massachusetts (collectively, "MassHealth") and other health and human

services programs designed to pay for medical services for eligible individuals pursuant to M.G.L.

c. 118E, Title XIX of the Social Security Act (42 U.S.C. sec. 1396 et seq.), Title XXI of the Social

Security Act (42 U.S.C. sec. 1397aa et seq.), and other applicable laws and waivers. Our Secretariat

has an annual operating budget of approximately $30 billion and touches one out of every three

residents of the Commonwealth.

       2.      I hold a Bachelor of Arts degree and a Master's degree in public health from Yale

University. Before joining the Healey-Driscoll Administration I served as the President and Chief
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Operating Officer of Boston Medical Center ("BMC") for approximately 13 years. BMC is a

private, not-for-profit 496-bed academic medical center in Boston. BMC health system has

approximately 10,000 employees, 1,200 physicians, owns and operates Wellsense Insurance plan

which provides access to health care to 600,000 people across Massachusetts and New Hampshire

and an annual operating budget of roughly $6 billion. Prior to my appointment at BMC, I served

as Executive Vice President and Chief Operating Officer of Brigham and Women's Hospital for

five years.

        3.      As EOHHS Secretary, I have personal knowledge of the rules, regulations, and

processes governing EOHHS and its agencies. I have personal knowledge, or knowledge based on

review in my capacity as Secretary of information and records gathered by EOHHS and agency

staff, of the matters set forth below.

I.      The Department of Public Health

        4.      DPH promotes and protects health and wellness and prevents injury and illness for

7 million residents of our Commonwealth. DPH prevents illness and disease, gives children a

healthy start, and makes sure food and water supplies are safe. They prepare for and respond to a

wide range of emergencies and disasters, and they maintain vital records and collect important

health-recorded data across the state. DPH also assesses the quality and safety of health care

facilities and services and oversees the integrity and competency of health care professions. DPH

is the state agency responsible for overseeing the statewide system of prevention, intervention,

treatment, recovery and support services for individuals and families affected by substance

addiction. In 2023, 2,125 people died as a result of an opioid related overdose in Massachusetts.

On or about February 28, the federal Substance Abuse and Mental Health Services terminated the

Region I Regional Director effective immediately and without notice, leaving Massachusetts and

all of New England without a federal regional coordinating body. This gap in staffing increases
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the risk that harmful changes to drugs prone to abuse may not be timely identified as they travel

throughout New England. For example, in 2023, comprehensive communication with the

Regional Director allowed programs throughout Massachusetts to understand and address the

presence of a new adulterant, nitazene. Information received through public health partners in

Vermont and the Massachusetts Drug Supply Data Stream ("MADDS"), and managed by the

Regional Director, enabled Massachusetts harm reduction providers to recognize clinical changes

in presentation that could be attributed to nitazene and to respond accordingly. The sharing of this

information allowed providers to collaborate and stay informed about changes in street drug supply

availability, potency, and new drug-related health risks.

II.    The Department of Transitional Assistance - SNAP

       5.      The Supplemental Nutrition Assistance Program ("SNAP") provides financial

assistance to low-income individuals and families to help them buy food. Nearly 1.1 million people

in Massachusetts receive SNAP benefits, one in six Massachusetts residents. There are SNAP

recipients in every city and town across the Commonwealth. Nearly 25% of SNAP recipients are

older adults (age 60 and older), 28% of SNAP recipients have a disability, and about one-third of

SNAP recipients are children. SNAP eligibility is based on income and expenses. Most households

must have a gross monthly income at or below 200% of the Federal Poverty Level to qualify for

SNAP in Massachusetts. In Massachusetts, the average SNAP benefit is $330 per household at the

rate of$10.80 per household per day.

       6.      OTA has been working with US Digital Services since February 2024 to develop

and pilot a new technical Consent Based Verification app, which would improve and expand the

ability to collect and validate employment information for applying and existing SNAP

households. Not only would the tool be implemented in Massachusetts, but it was also anticipated



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that this service would ultimately be made available to all SNAP states, offering reduced

administrative costs for income verification to both states and the federal government. After a

successful phase one pilot in late 2024, Massachusetts and the USDS team broadened and

accelerated the engagement in anticipation of a full-scale rollout of the technology in early spring

2025. However, over recent weeks this engagement has been seriously disrupted by the

termination, loss, or relocation of USDS employees working on the project. As a result, the

likelihood of implementing CBV on time in Massachusetts has changed from expected to unlikely.

III.     MassHealth Programs

        7.     EOHHS administers several publicly funded programs that enable qualifying

Massachusetts residents to access free or low-cost healthcare coverage. These programs include

the Medicaid plan, Children's Health Insurance Program ("CHIP"), and the 1115 Demonstration

Project-collectively known in Massachusetts as "MassHealth." Jointly funded by state and

federal dollars, MassHealth provides coverage for a wide range of health services to children, the

elderly, families, and individuals with disabilities. MassHealth benefits may vary depending on,

among other things, a person's citizenship and immigration status and household income.

        8.     Depending on household income, children who are U.S. citizens or who have

qualifying immigration status are eligible for MassHealth's more comprehensive health benefits.

For example, children whose household income is no more than 200% of the federal poverty level

(for children under 1) or 150% of the federal poverty level (for children 1 through 18) are eligible

for MassHealth Standard benefits. These MassHealth plans, which are funded in part by federal

dollars, cover comprehensive medical and behavioral health care, primary and specialty physician

services, inpatient and outpatient hospital services, long-term services and supports,

comprehensive dental and vision care, lab tests, and pharmacy services.



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       9.      The majority of MassHealth's 2.3 million members receive their MassHealth

services through a managed care delivery system that MassHealth has implemented under federal

regulations promulgated by the Centers for Medicare and Medicaid Services ("CMS") at 42 CFR

Part 438. MassHealth's managed care programs include mandatory managed care programs for

individuals under the age of 65 for whom MassHealth is their primary insurer, as well as two

voluntary managed care programs for adults and seniors who have dual Medicare and Medicaid

enrollment. As of February 2025, over 1.6 million members were enrolled in a MassHealth

managed care program, which include managed care organizations ("MCOs"), primary care case

management entities ("PCCM entities"), a prepaid inpatient health plan ("PIHP"), and primary

care case managers ("PCCMs"), as defined under 42 CFR 438.2. These managed care programs,

authorized and regulated by CMS, are responsible for ensuring that their 1.6 million MassHealth

enrollees have access to the benefits and entitlements guaranteed under federal law.

       10.     In accordance with CMS regulations and subregulatory requirements, MassHealth

submits documents related to its managed care programs to CMS for review and approval. The

managed care documents required to be submitted to CMS for review and approval include

contracts and contract amendments, actuarially developed rate certifications, and state directed

payment "preprints." In calendar year 2024, MassHealth submitted 23 contract amendments, 18

rate certifications or amended rate certifications, and 56 state directed payment preprints or

amended preprints for CMS review and approval. In order to gamer the requisite federal approvals

on these documents, MassHealth is also required to respond to CMS questions on these

documents. In 2024, MassHealth submitted 5 sets of responses to CMS questions on our contract

amendments, 20 sets of responses to CMS questions on our rate certifications, and 32 sets of

responses to CMS questions on our state directed payment preprints. In all, the state submitted



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